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                               UNITED STATES DISTRICT COURT
    JEANNETFE J. CLACK          WESTERN DISTRICT OF TEXAS                                    PHILIP J. DEVLIN
                                                                                              CHIEF DEPUTY
      CLERK OF COURT
                                655 East Cesar E. Chavez Boulevard
                                    San Antonio, Texas 78206

                                                 November 8, 2018

       Leroy Ramirez
       Erika Herrera Ramirez
                (Debtors)                                        Civil Case No. SA-18-CV-01074-XR
                                                                   Bankruptcy No.18-05242
       Federal National Mortgage Association
       Seterus, Inc., and Bank of America, N.A.
            (Appellants)                                  NOTICE OF DOCKETING RECORD ON
         v.                                                             APPEAL
        Leroy Ramirez
               (Appellee)

        TO: SEE ATTACHED LIST OF PARTIES TO APPEAL

        On October 11, 2018, the following record on appeal being that of: Federal National
        Mortgage Association, Bank of America, N.A., and Seterus, Inc. filed the Notice of Appeal of
        the Bankruptcy Court's October 10, 2018 Order (Doe #50); Regarding Motion to Remand
        was filed in the United States District Court for the Western District of Texas, San Antonio
        Division, and assigned to the Honorable Judge Xavier Rodriguez.

     Unless the District Court by order in a particular case directs otherwise, the filing of briefs on
appeal shall be in accordance with Rule 8018' of the Federal Rules of Bankruptcy Procedure
provides, in part, as follows:
     (1) The appellant must serve and file a brief within 30 days after the docketing of
         notice that the record has been transmitted or is available electronically.
     (2) The appellee must serve and file a brief within 30 days after service of the
         appellant's brief.
     (3) The appellant may serve and file a reply brief within 14 days after service of the
          appellee's brief, but a reply brief must be filed at least 7 days before scheduled
          argument unless the district court. . ., for good cause, allows a later filing.

                                      JEANNETTE J. CLACK,
                                     CIRKU. S. DISTRICT COUR

                                 By: Rosanne M. Garza, Deputy Clerk

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 In cases involving a cross-appeal, the filing of briefs shall be in accordance with Rule 8016 of the Federal
Rules of Bankruptcy Procedure.
